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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

  UNITED STATES OF AMERICA                         CRIMINAL ACTION NO. 11-00062-07

  VERSUS                                           JUDGE S. MAURICE HICKS, JR.

  GARY SCHNEIDER                                   MAGISTRATE JUDGE HORNSBY

                                  MEMORANDUM RULING

         Before the Court is Petitioner Gary Schneider’s (“Schneider”) Motion for

  Compassionate Release. See Record Document 798. The Government has opposed

  Schneider’s motion. See Record Document 802. For the reasons set forth below,

  Schneider’s Motion for Compassionate Release is hereby DENIED.

                                       BACKGROUND

         On March 16, 2011, Schneider was charged with three child exploitation crimes

  relating to his involvement with the “Dreamboard” child exploitation bulletin board, a dark-

  web based forum. See Record Document 9. On May 31, 2011, Schneider pled guilty to

  engaging in a child exploitation enterprise, in violation of 18 U.S.C. § 2252A(g). See

  Record Documents 143-144. Schneider faced a mandatory minimum sentence of 20

  years. See id. On January 12, 2012, he was sentenced to 240 months imprisonment

  followed by supervised release for life. See Record Documents 422, 426-427.

         Schneider is currently incarcerated at Oklahoma City FTC. His projected release

  date is April 15, 2028.

                                    LAW AND ANALYSIS

         Schneider is 70 years old and suffers from hypertension, type II diabetes,

  hyperlipidemia, hypothyroidism, and he is obese. See Record Document 798.               He
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  believes his age and serious medical conditions place him at imminent risk of serious

  complications or death if he were to contract the COVID-19 virus. See id.

        A judgment of conviction, including a sentence of imprisonment, “constitutes a final

  judgment and may not be modified by a district court except in limited circumstances.”

  Dillon v. United States, 560 U.S. 817, 824, 130 S.Ct. 2683, 2690 (2010). Title 18, United

  States Code, Section 3582(c) provides that the Court “may not modify a term of

  imprisonment once it has been imposed,” except in three circumstances:

        (1)    upon a motion by the Bureau of Prisons or the defendant for
               reduction of sentence under 18 U.S.C. § 3582(c)(1)(A);
        (2)    “to the extent otherwise expressly permitted by statute or by Rule 35
               of the Federal Rules of Criminal Procedure,” 18 U.S.C. §
               3582(c)(1)(B); or
        (3)    where the defendant was sentenced based on a retroactively
               lowered sentencing range, 18 U.S.C. § 3582(c)(2).

  In this case, Schneider moves to modify his sentence under 18 U.S.C. § 3582(c)(1)(A).

  Under this section, the Court may reduce a sentence “if it finds that extraordinary and

  compelling reasons warrant such a reduction” and “that such a reduction is consistent

  with applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. §

  3582(c)(1)(A).

        Prior to 2018, only the Director of the BOP could file Section 3582(c)(1)(A) motions,

  also known as compassionate release motions. In 2018, Congress passed, and President

  Trump signed the First Step Act, which among other actions, amended the

  compassionate release process. Under the First Step Act, Section 3852(c)(1)(A) now

  allows prisoners to directly petition courts for compassionate release. However, before

  filing compassionate release motions, prisoners must exhaust their administrative

  remedies in one of two ways:



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         (1)    prisoners may file a motion with the court after fully exhausting all
                administrative rights to appeal the BOP’s decision not to file a motion
                for compassionate release, or
         (2)    prisoners may file a motion with the court after requesting release
                and there has been “the lapse of 30 days from the receipt of such
                request by the warden of the defendant’s facility, whichever is
                earlier.”

  18 U.S.C. § 3582(c)(1)(A). While the Government does not believe Schneider has

  exhausted his administrative remedies, this Court will assume, based on Schneider’s

  Exhibit A (Record Document 798-1), that he has exhausted his administrative remedies

  within the BOP and will proceed to the merits of his motion.

         Subject to considerations of 18 U.S.C. § 3553(a), Section 3582(c)(1)(A) permits a

  reduction in Schneider’s term of imprisonment if the Court determines that extraordinary

  and compelling reasons warrant a reduction. The reduction must be “consistent with

  applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. §

  3582(c)(1)(A). Previously, a district court was confined to the policy statements set forth

  in U.S.S.G. § 1B1.13 to determine whether a compelling reason existed to grant release.

  However, the Court of Appeals for the Fifth Circuit recently vacated this restricted

  examination finding that the policy statements contained under U.S.S.G. § 1B1.13 are

  only binding on the Court when the motion for compassionate release is brought on the

  prisoner’s behalf by the BOP. See U.S. v. Shkambi, No. 20-40543, 2021 WL 1291609,

  at *3 (5th Cir. 04/07/2021). The Fifth Circuit instructed that a district court considering a

  motion for compassionate release brought by the prisoner himself “is bound only by §

  3582(c)(1)(A)(i) and, as always, the sentencing factors in § 3553(a).” Id. at *4. Shkambi

  did not, however, render § 1B1.13 irrelevant with respect to defendant-filed motions under

  Section 3582(c)(1)(A), as the Fifth Circuit has long recognized that although not



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  dispositive, the commentary to § 1B1.13 informs the district court’s analysis as to what

  reasons may be sufficiently extraordinary and compelling to necessitate compassionate

  release. See U.S. v. Robinson, No. 3:18-CR-00228-01, 2021 WL 1723542 (W.D. La.

  04/30/2021), citing U.S. v. Thompson, 984 F.3d 431, 433 (5th Cir. 2021). While not

  binding, § 1B1.13 suggests that the following are deemed extraordinary and compelling

  reasons warranting a sentence reduction: (1) the defendant’s medical conditions; (2) the

  defendant’s age; (3) family circumstances; or (4) other reasons. See U.S.S.G. § 1B1.13,

  cmt. n.1; see also Thompson, 984 F.3d at 433.

        “In general, the defendant has the burden to show circumstances meeting the test

  for compassionate release.” U.S. v. Stowe, No. H-11-803(1), 2019 WL 4673725 at *2

  (S.D. Tex. Sept. 25, 2019); see also U.S. v. Ennis, No. EP-02-CR-1430-PRM-1, 2020 WL

  2513109, at *4 (W.D. Tex. May 14, 2020) (“[T]he defendant has the burden to show

  circumstances meeting the test for compassionate release.”); U.S. v. Wright, No. 16-214-

  04, 2020 WL 1976828, at *6 (W.D. La. Apr. 24, 2020) (Petitioner has the “burden of

  showing the necessary circumstances, or a combination of circumstances, that would

  warrant relief under the compassionate release statute.”). In certain instances, the

  COVID-19 outbreak may affect whether an inmate can show extraordinary and

  compelling reasons warranting compassionate release under Section 3582(c)(1)(A)(i). If

  an inmate has a chronic medical condition that has been identified by the Centers for

  Disease Control (“CDC”) as elevating the inmate’s risk of becoming seriously ill from

  COVID-19, that condition, in light of the pandemic, may rise to the level of “extraordinary

  and compelling reasons” under Section 3582(c)(1)(a). In other words, some conditions




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  that would not have constituted an “extraordinary and compelling reason” now fall into

  this category because of the risk of COVID-19.

           Schneider cites his age and a myriad of medical reasons as the basis for his

  compassionate release. The Government conceded Schneider has at least two health

  conditions – type II diabetes and obesity – recognized by the CDC as a COVID-19 risk

  factor, thus comprising as “extraordinary and compelling reason” as that term is defined

  for purposes of 18 U.S.C. § 3582(c)(1)(A). Notwithstanding, this Court does not believe

  granting compassionate release in this case would comport with the factors enumerated

  in Section 3553(a). See 18 U.S.C. § 3582(c)(1)(A).

           The nature and circumstances of Schneider’s offense and his history and

  characteristics disfavor release. He admitted to his participation in a child pornography

  online forum. Schneider became a member of the Dreamboard child exploitation bulletin

  board in March 2010. See Presentence Investigation Report at ¶ 14. As a result of his

  postings, his membership level was raised to VIP. See id. He made 105 posts to the

  board.    See id.   Schneider’s posts included postings to the hard core sections of

  Dreamboard. See id. While it is true that Schneider had no criminal history, his actions

  in the instant offense perpetuated the sexual abuse of children as Dreamboard placed a

  high premium on the posting of homemade child pornography. The seriousness of his

  offense is evidenced by the mandatory minimum sentence of 20 years. Thus, it is this

  Court’s belief that a reduced sentence in this case simply would not reflect the

  seriousness of the offense, would not promote respect for the law, and would not afford

  adequate deterrence to criminal conduct. A reduced sentence would also cause disparity

  from sentences other defendants have received for similar criminal conduct. Finally,



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  compassionate release – even to home confinement – would not adequately protect the

  public from further crimes of this defendant, as offenses such as those committed by the

  defendant can easily be committed in a home setting and anonymously because of dark-

  web based activity.

                                      CONCLUSION

          Based on the foregoing reasons, Schneider’s Motion for Compassionate Release

  (Record Document 798) be and is hereby DENIED.

          An order consistent with the terms of the instant Memorandum Ruling shall issue

  herewith.

          THUS DONE AND SIGNED, in Shreveport, Louisiana, this 20th day of October,

  2021.




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